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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS 1 ` l
FORT WORTH DIVISION é'l‘ip§'=i - §§ ZU»l"§

UNITED STATES OF AMERICA

 

 

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v.
CHRISTOPHER CROTTY (01)
PLEA AGREEMENT

Pursuant to FED. R. CRIM. P. ll(c)(l)(A) and (B), defendant Christopher Crotty
(Defendant), and his attorney Marshall McCallum, and the United States of America (the
government) agree as follows:

l. Rights of the defendant: Defendant understands that he has the right:

a. to plead not guilty;

b. to have a trial by jury;

c. to have his guilt proven beyond a reasonable doubt;

d. to confront and cross-examine Witnesses and to call Witnesses in his
defense;

e. to have the case against him presented to a federal grand jury; and

I'b

against compelled self-incrimination

2. Waiver of rights and plea of guilty: Defendant Waives these rights and
pleads guilty to the offense alleged in Count One of the Information, charging him With
Possessing With Intent to Distribute Steroids, in violation of 21 U.S.C. §§ 84l(a)( l) and
(b)(l)(E). Defendant understands the nature and elements of the crime to Which he is
pleading guilty, and agrees that the factual resume he has signed is true and Will be

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submitted as evidence.

3. Sentence: The maximum penalties the Court can impose include:

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imprisonment for a period not more than 10 years;

a fine not to exceed $500,000 or both a fine and imprisonment;

a term of supervised release of not more than three years, which may be
mandatory under the law and will follow any term of imprisonment If
Defendant violates the conditions of supervised release, he could be
imprisoned for the entire term of supervised release;

a mandatory special assessment of $100.00;

restitution to victims or to the community, which may be mandatory
under the law, and which Defendant agrees may include restitution
arising from all relevant conduct, not limited to that arising from the
offense of conviction alone;

costs of incarceration and supervision; and

forfeiture of property.

4. Court’s sentencing discretion and role of the Guidelines: Defendant

understands that the sentence in this case will be imposed by the Court after consideration

of the United States Sentencing Guidelines. The guidelines are not binding on the Court,

but are advisory only. Defendant has reviewed the guidelines with his attorney, but

understands no one can predict with certainty the outcome of the Court’s consideration of

the guidelines in this case. Defendant will not be allowed to Withdraw his plea if his

sentence is higher than expected. Defendant fully understands that the actual sentence

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imposed (so long as it is within the statutory maximum) is solely in the discretion of the
Court.

5. Parties' non-binding sentencing agreement pursuant to FED. R. CRIM.
P. ll(c)(l)(B): The parties agree, pursuant to FED. R. CRIM. P. ll(c)(l)( B), that the
defendant qualifies for a minor participant reduction of two levels, under U.S.S.G.

§3Bl .2(b). Additionally, the parties agree that a three-level reduction for acceptance of
responsibility applies under U.S.S.G. §3El.l. The defendant, however, understands that
this sentencing agreement, and the government's recommendations, are not binding on
the Court.

6. Rejection of sentencing agreement: The defendant understands that if the
Court rejects the sentencing agreement set forth in Paragraph 5 above, he will have no
right to withdraw his guilty plea.

7. Mandatory special assessments Prior to sentencing, Defendant agrees to
pay to the U.S. District Clerk the amount of $100.00, in satisfaction of the mandatory
special assessment in this case.

8. Defendant’s agreement: Defendant shall give complete and truthful
information and/or testimony concerning his participation in the offense of conviction.
Upon demand, Defendant shall submit a personal financial statement under oath and
submit to interviews by the government and the U.S. Probation Offlce regarding his
capacity to satisfy any fines or restitution. Defendant expressly authorizes the United
States Attorney’s Office to immediately obtain a credit report on him in order to evaluate
his ability to satisfy any financial obligation imposed by the Court. Defendant fully

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understands that any financial obligation imposed by the Court, including the
implementation of a fine, is due and payable immediately. In the event the Court
imposes a schedule for payment of a fine, Defendant agrees that such a schedule
represents a minimum payment obligation and does not preclude the U.S. Attorney’s
Office from pursuing any other means by which to satisfy defendant’s full and
immediately enforceable financial obligation. Defendant understands that he has a
continuing obligation to pay in full, as soon as possible, any financial obligation imposed
by the Court.

9. Government’s agreement: Pursuant to FED. R. CRIM. P. ll(c)(l)( A),
the government will not bring any additional charges against Defendant based upon the
conduct underlying and related to his plea of guilty. The government will file a
Supplement in this case, as it routinely does in every case, even though there may or may
not be any additional terms. This agreement is limited to the United States Attorney’s
Office for the Northern District of Texas and does not bind any other federal, state, or
local prosecuting authorities, nor does it prohibit any civil or administrative proceeding
against Defendant or any property.

lO. Violation of agreement: Defendant understands that if he violates any
provision of this agreement, or if his guilty plea is vacated or withdrawn, the government
will be free from any obligations of the agreement and free to prosecute Defendant for all
offenses of which it has knowledge In such event, Defendant waives any objections
based upon delay in prosecution. If the plea is vacated or withdrawn for any reason other
than a finding that it was involuntary, Defendant waives objection to the use against him

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of any information or statements he has provided to the government and any resulting
leads.

11. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea
agreement There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

12. Waiver of right to appeal or otherwise challenge sentence: Defendant
waives his rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. § 3742, to appeal from
his conviction and sentence. He further waives his right to contest his conviction and
sentence in any collateral proceeding, including proceedings under 28 U.S.C. §§ 2241
and 2255. Defendant, however, reserves the rights (a) to bring a direct appeal of (i) a
sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error at
sentencing, (b) to challenge the voluntariness of his plea of guilty or this waiver, and
(c) to bring a claim of ineffective assistance of counsel.

13. Representation of counsel: Defendant has thoroughly reviewed all legal
and factual aspects of this case with his lawyer and is fully satisfied with his lawyer’s
legal representation Defendant has received from his lawyer explanations satisfactory to
him concerning each paragraph of this plea agreement, each of his rights affected by this
agreement, and the alternatives available to him other than entering into this agreement
Because he concedes that he is guilty, and after conferring with his lawyer, Defendant has
concluded that it is in his best interest to enter into this plea agreement and all its terms,
rather than to proceed to trial in this case.

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14. Entirety of agreement: This document is a complete statement of the
parties’ agreement and may not be modified unless the modification is in writing and

signed by all parties.
AGREED TO AND SIGNED this (§f day of p 701’.1/ <;..)-/v 2019.

ERIN NEALY COX
UNITED STATES ATTORNEY

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ALEx'/C.`EEWIS RoBEi?;./BOUDREAU
Deputy Criminal Chief Assista t United States Attorney

New York State Bar No. 4686507
801 Cherry Street, Suite 1700
Fort Worth, Texas 76102
Telephone: 817-252-5200
Facsimile: 817-252-5455

I have read (or had read to me) this Plea Agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it

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,L-‘“" //‘“FTD ’)/ if f§~/:
cHRIsToPHER cRoTTY Date '
Defendant

I am the defendant’s counsel. I have carefully reviewed every part of this Plea
Agreement with the defendant To my knowledge and belief, my client’s decision to
enter into this Plea Agreement is an informed and voluntary one.

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MARsH/ALEMCCALLUM Date
Counsel for Defendant

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